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                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                          CR. NO. 4:23-CR-163

             v.
                                                   (Chief Judge Brann )
JEREMY PAULEY,
                  Defendant.                       (electronically filed)


                               INFORMATION

THE UNITED STATES ATTORNEY CHARGES:

                                 COUNT 1
                               18 U.S.C. § 371
                                (Conspiracy)

I.   Background

     At times material to the Information:

     A.    Relevant Individuals and Entities

     1.    JEREMY PAULEY resided in Enola, Pennsylvania, and

Bloomsburg, Pennsylvania, both within the Middle District of

Pennsylvania.

     2.    The University of Arkansas for Medical Sciences (DAMS)

was both a hospital and a health sciences university located in Little

Rock, Arkansas.

     3.    Harvard Medical School ("HMS") was the graduate medical
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